723 F.2d 53
    PHILIPP TRANSIT LINES, INC.;  Vincent D. Vogler, Jr.,Trustee, Appellants,v.RMI COMPANY, a partnership, United States Steel Corporation,National Distillers Chemical Corporation, Appellees.
    No. 83-1215.
    United States Court of Appeals,Eighth Circuit.
    Submitted Nov. 16, 1983.Decided Dec. 21, 1983.
    
      Appeal from the United States District Court for the Eastern District of Missouri;  William S. Bahn, Magistrate.
      Stern, Pressman &amp; Soule, Norman W. Pressman, St. Louis, Mo., for appellants.
      Harold A. Thomas, Jr., Clark H. Cole, Armstrong, Teasdale, Kramer &amp; Vaughan, St. Louis, Mo., for appellees;  John F. Hornbostel, Jr., New York City, of counsel.
      Before ROSS, ARNOLD and BOWMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      The case is before this court on appeal from the judgment of the district court.  The parties have stipulated to the facts and they are summarized below.
    
    
      2
      The appellant is the Trustee in bankruptcy of Philipp Transit Lines, Inc.  This action was brought against RMI Company to recover rate charges under Item 136500 of the National Motor Freight Classification.  Philipp claims that the highest rate available should have applied to 459 shipments of titanium, because RMI failed to substantially comply with the applicable tariff requirements.
    
    
      3
      As we stated to counsel at the conclusion of oral arguments, we have carefully studied the record in this case and find appellant's claim to be without merit.  In accordance with the rules of this court, we affirm the judgment of the district court.  See 8TH CIR. R. 14.
    
    